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R Touhey Myer (NJ Bar ID 028912009)
KRATZ & BARRY LLP
800 N. West Street
Wilmington, DE 19801
(302) 527-9378
tmyer@kratzandbarry.com

Of Counsel:

Timothy H. Kratz, Esquire
(Pro Hac Vice)
George J. Barry III, Esquire
(Pro Hac Vice Anticipated)
KRATZ & BARRY, LLP
1050 Crown Pointe Parkway, Suite 500
Atlanta, GA 30338
(404) 431-6600
tkratz@kratzandbarry.com
gbarry@kratzandbarry.com

Michael P. Hogan
(Pro Hac Vice)
KRATZ & BARRY LLP
325 Chestnut Street, Suite 876, #259
Philadelphia, PA 19106
(917) 216-8585
mhogan@kratzandbarry.com

Attorneys for Defendant, Rubicon Research Private Limited

                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

                                                :
 METACEL PHARMACEUTICALS LLC,                   :     C.A. No. 2:21-cv-19463-EP-JRA
                                                :
                              Plaintiff,        :      DEFENDANT, RUBICON
                                                :       RESEARCH PRIVATE
                   v.                           :   LIMITED’S NOTICE OF MOTION
                                                :     FOR LEAVE TO MOVE FOR
 RUBICON RESEARCH PRIVATE LIMITED,              :     SUMMARY JUDGMENT OF
                                                :       NON-INFRINGEMENT
                              Defendant.        :
                                                :     Return Date: September 6, 2022
                                                :
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       PLEASE TAKE NOTICE that pursuant to Paragraph 35 of the Scheduling Order, on

September 6, 2022, or as soon thereafter as counsel can be heard, Defendant, Rubicon Research

Private Limited, (herein “Rubicon” or “Defendant”), by and through their undersigned Counsel,

will move before this Court for leave to move for Summary Judgment of Non-Infringement.

       PLEASE TAKE FURTHER NOTICE that in support of this Motion, Rubicon submits the

following accompanying documents:

       1.     Rubicon’s Brief in Support of Motion for Leave to Move for Summary Judgment

of Non-Infringement.

       2.     A Proposed Order GRANTING Rubicon’s Motion for Leave to Move for Summary

Judgment of Non-Infringement, pursuant to Local Civil Rule 7.1(e).

       3.     Declaration of Timothy H. Kratz in Support of Defendant, Rubicon Research

Private Limited’s Motion for Leave to Move for Summary Judgment of Non-Infringement.

       4.     True and correct copies of Exhibits A-E to the Declaration of Timothy H. Kratz

in Support of Defendant, Rubicon Research Private Limited’s Motion for Leave to Move for

Summary Judgment of Non-Infringement.




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Dated: July 27, 2022                     Respectfully submitted,
                                         KRATZ & BARRY LLP
                                         /s/ R Touhey Myer
                                         R Touhey Myer (NJ Bar ID 028912009)
                                         800 N. West Street
                                         Wilmington, DE 19801
                                         (302) 527-9378
                                         tmyer@kratzandbarry.com

                                         Of Counsel:

                                         Timothy H. Kratz
                                         (Pro Hac Vice)
                                         George J. Barry III
                                         (Pro Hac Vice Anticipated)
                                         KRATZ & BARRY LLP
                                         1050 Crown Pointe Parkway, Suite 500
                                         Atlanta, GA 30338
                                         (404) 431-6600
                                         tkratz@kratzandbarry.com
                                         gbarry@kratzandbarry.com

                                         Michael P. Hogan
                                         (Pro Hac Vice)
                                         KRATZ & BARRY LLP
                                         325 Chestnut Street, Suite 876, #259
                                         Philadelphia, PA 19106
                                         (917) 216-8585
                                         mhogan@kratzandbarry.com

                                         Attorneys for Defendant,
                                         Rubicon Research Private Limited




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